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Valery Williams, Plaintiff


     v.


Philadelphia Water Department, Defendant


No. 23-cv-01728


                                ANSWER




Defendant Deputy City Solicitor states in the Introduction to dismiss my
Complaint, that Plaintiff has not established a City policy or custom that caused a
Constitutional Violation. As in Amended Complaint,
A. Plaintiff provided the Fourteenth Amendment specifically references UTILITY
SERVICES. Utility Companies must provide Customers with fair notice prior to
Shut-off of water services. If notice was not given Due Process of Law was not
afforded, a Constitutional Violation.
B. Plaintiff provided the PWD regulations in full regarding policy referencing
SHUT-OFFS. Reg 100.4 (a) water services can only be shut-off without prior Notice
under these conditions – a danger to life, health, safety, or property. Reg 100.4
(b)(2) after notice is given PWD can shut your water off after being denied 2
consecutive billing periods entry into the property to READ,MAKE CHANGES or
REPAIRS to the meter. Plaintiff had no emergency which presented a danger to
life, health, safety, or property. Plaintiff received no prior notice or denied PWD
entry into property ever before water services were shut-off January 6th 2023.
(see attachment again). Reg 100.5 (a) A shut-off notice in English and Spanish will
be mailed or delivered to a Customer. Date on or after which water will be shut
off. Reg 100.5(c) Shut-off for Lack of Meter Access, PWD will send or deliver a
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notice by mail or hand delivery stating that to avoid shut off of services, the
customer must contact PWD and provide access.(see attached again).
These PWD REGULATIONS/POLICY establishes the CAUSE of a Constitutional
Violation under the Fourteenth Amendment DUE PROCESS. Plaintiff never
received prior notice of any dispute PWD had that would result in the termination
of water services.
Defendant Deputy City Solicitor states that water services were shut off due to
Non-Compliance and that to have Plaintiffs water shut back on she needed to
make an appointment to have a new meter installed and Plaintiff refuse this
requirement, and that Plaintiff claims that PWD put a battery on top of her old
meter and water services were connected.
   A. The reason Non-Compliance states we have been unable to access the
      water meter. You must have a functioning and accessible meter. Plaintiffs
      meter was functioning correctly and accessible. And to shut off water
      service per reg 100.6 (c)- Shut off for Lack of Meter Access, PWD will send
      or deliver a NOTICE by mail or hand delivery prior to shut off.(see attached)
      After speaking to PWD, Plaintiff was told that the Shut-off notice reason
      was wrong. PWD was replacing all meters with new upgraded meters and
      that Plaintiff had to make an appointment to have the new meter installed
      and then water would be turned on. PWD shut Plaintiffs water off without
      NOTICE and for the wrong REASON. And now Plaintiff must have her
      functioning meter replaced by a new upgraded meter without NOTICE or
      benefit, to have her water restored. There is no REQUIREMENT under city,
      state, or federal law, that water services can be terminated without a valid
      lawful reason alongside a NOTICE of intent. Yes, Plaintiff disputed
      illegal/unlawful action PWD committed, and sought help from other
      government agencies.
   B. From January 7th 2023, Plaintiff had been told by PWD and government
      agencies that Plaintiffs water would only be restored when her meter was
      replaced with a new updated meter. Well that never happened .Plaintiffs
      2012 installed functioning and accessible meter was not replaced, why not?
      The only service to the meter was to attach a battery on top of the old
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      meter. Not a claim it’s a FACT(see attached again). What does the battery
      do, no one knows?
      PWD reg 100.4(2) Shut Off of Utility Service states when PWD is denied for
      two consecutive billing periods access to meter to read or make changes or
      repairs per PWD reg 100.5(a) a Shut-off NOTICE will be mailed or delivered
      to customer stating per PWD reg 100.5(a)(1) Date on or after which water
      will be turned off.

      Defendant Deputy City Solicitor states that Plaintiff failed to state a claim
      for relief because Plaintiff has not established a bases for municipal liability
      under Monell v. Department of Social Services,436 U.S. 658 (1978). Plaintiff
      must allege some municipal policy or custom that caused the violation.
      A. Plaintiff Federal Case is Williams versus Philadelphia Water Department
         a Utility Service.
      B. Plaintiff provided legal written facts that the PWD caused the Violation.
         1. City’s PWD’s own policy states specific reasons for water Shut-Offs
         and prior NOTICE must be provided.
         2.States PUC states specific reasons for water Shut-Off and prior NOTICE
         must be provided(see attached)
         3.Federal Fourteenth Amendment states that PRIOR NOTICE- DUE
         PROCESS must be provided under the LAW.
Conclusion
Plaintiff contacted US Human Services and was told to contact Pennsylvania
Public Utilities Commission. Plaintiff contacted Pa-PUC and was told that they had
no jurisdiction over PWD. Plaintiff contacted the Attorney General Office of
Pennsylvania and was told to contact the Municipality Commission. Plaintiff
contacted the office twice and left messages and as of this date have not received
a response. Unless being the government authority over the Philadelphia Water
Department and they have a different policy then the PWD, PUC and Federal
policy governing Utility Services, then the Defendant should state this, if not then
this motion to dismiss should not be granted


Valery Williams
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